Case 1:18-cV-01366-.]TN-ESC ECF No. 5 filed 12/26/18 Page|D.B Page 1 of 2
1125 Atlantic Avenue
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§ Phone: 609.344.3161
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December 26, 2018 2:05 Pl\/|
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BY:,LEP," SCANNED BY;14‘5J /l§\/§L,

JARAD K. STlLEs Direct Phone (856) 857-5594
Also Admitted to NY Bar Direct Fax (856) 857-5595
LLM in Taxation

EMAlL: jstiles@cooperlevenson.com FILE NO. 50686.00066

December 20, 2018

1 :18-cv-1366

Via Certified Mail ~ Return Receipt Requested Jath T, Neff . u_s. nis,,icwu_dge
E||en S. Carmody - U.S. Maglstrate Judge

Eric A. Siskind

U.S. District Court

399 Federal Building

1 10 Michigan Street NW
Grand Rapids, MI 49503

Re: Spiech Farms, LLC
Case No.: 17-05398

Dear Mr. Siskind:

Pursuant to our teleconference today please find attached the order granting Eric Browndorf
pro hac vice status. As discussed our firm has no intention of appearing in the appeal filed by Produce
Pay. If you have any additional questions or concerns please do not hesitate to contact me.

Very truly yours,
n /) q:. V".
' ry M

Jarad K. Stiles

JKS/rnek
Enclosure

CLAC 4764380.1

NE\></ JERSEY l DELAWARE l NEVADA\ FLoRIDA

CaS€ 1'18-CV-01366-JTN-ES

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ATTO R N EYS AT \_Av\/
1125 Atlantic Avenue' Atl antic Ciry, N] 08401

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Eric A. E‘»iskind

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